    Case 2:17-cv-04540-WB   Document 249     Filed 08/21/20    Page 1 of 2




                 UNITED STATES COURT OF APPEALS
                      FOR THE THIRD CIRCUIT
                         ________________

                 Nos. 17-3752, 18-1253, 19-1129 & 19-1189
                            ________________

                COMMONWEALTH OF PENNSYLVANIA;
                     STATE OF NEW JERSEY

                                    v.

  PRESIDENT UNITED STATES OF AMERICA; SECRETARY UNITED STATES
    DEPARTMENT OF HEALTH AND HUMAN SERVICES; UNITED STATES
 DEPARTMENT OF HEALTH AND HUMAN SERVICES; SECRETARY UNITED
 STATES DEPARTMENT OF TREASURY; UNITED STATES DEPARTMENT OF
TREASURY; SECRETARY UNITED STATES DEPARTMENT OF LABOR; UNITED
     STATES DEPARTMENT OF LABOR; UNITED STATES OF AMERICA

                                 Little Sisters of the Poor Saints Peter and Paul
                                 Home (Intervenor in D.C.),
                                 Appellant in Nos. 17-3752 and 19-1129

                                 Secretary United States of Department of
                                 Health and Human Services, United States
                                 Department of Health and Human Services,
                                 Secretary United States Department of
                                 Treasury, United States Department of
                                 Treasury, Secretary United States Department
                                 of Labor, United States Department of Labor,
                                 Appellants in Nos. 18-1253 and 19-1189

   ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
              EASTERN DISTRICT OF PENNSYLVANIA
                      (E.D. Pa. No. 2:17-cv-04540)
                District Judge: Hon. Wendy Beetlestone
                          __________________
          On Remand from the Supreme Court of the United States
                Submitted on Remand August 10, 2020

          Before: McKEE, SHWARTZ, and FUENTES, Circuit Judges
          Case 2:17-cv-04540-WB          Document 249     Filed 08/21/20   Page 2 of 2




                                       __________________

                                       JUDGMENT ORDER
                                       __________________

          By opinion and judgment entered on July 12, 2019, this Court affirmed the

 judgment of the District Court. The Little Sisters of the Poor Saints Peter and Paul Home

 and the President of the United States filed petitions for writ of certiorari with the U.S.

 Supreme Court, which were granted. On July 8, 2020, the Supreme Court reversed the

 judgment of this Court and remanded for further proceedings.

          On consideration whereof, it is now hereby

          ORDERED and ADJUDGED that the judgement of the District Court is reversed

 and the matter is remanded to the District Court for further proceedings. The Clerk is

 directed to issue the mandate.

                                               BY THE COURT:

                                               s/Patty Shwartz
                                               Circuit Judge

 ATTEST:

 s/ Patricia S. Dodszuweit
 Clerk

 Dated:          August 20, 2020




 Certified as a true copy and issued in lieu
 of a formal mandate on      08/20/20


Teste:
Clerk, U.S. Court of Appeals for the Third Circuit
